        Case 4:14-cr-00138-KGB         Document 186         Filed 09/02/16   Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                              Case No. 4:14-cr-00138-05 KGB

LARRY DEAN SILAS                                                                DEFENDANT

                                             ORDER

        Before the Court is a motion to substitute counsel (Dkt. No 183). On July 24, 2014,

United States Magistrate Judge J. Thomas Ray appointed J. Fletcher See to represent defendant

Larry Dean Silas in this matter (Dkt. No. 32). Attorney Patrick Benca has filed an entry of

appearance as retained counsel on behalf of Mr. Silas in this case on August 25, 2016 (Dkt. No.

182).

        For good cause shown, the motion to substitute counsel is granted (Dkt. No. 183).

Patrick Benca is hereby substituted as counsel of record for Mr. Silas, and J. Fletcher See is

relieved from any further representation of Mr. Silas in this matter.

        It is so ordered this 2nd day of September, 2016.



                                                      _________________________________
                                                      Kristine G. Baker
                                                      United States District Judge
